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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
1199SEIU UNITED HEALTHCARE WORKERS EAST,

                                              Petitioner,
                        v.                                  Civil Action No. 20-cv-03611
PSC COMMUNITY SERVICES, NEW PARTNERS, INC.                  (JGK)
D/B/A PARTNERS IN CARE, STELLA ORTON HOME
CARE AGENCY, RICHMOND HOME NEEDS,
SUNNYSIDE HOME CARE PROJECT, SUNNYSIDE                      NOTICE OF MOTION TO
CITYWIDE HOME CARE, FAMILY HOME CARE OF                     PARTIALLY VACATE
BROOKLYN AND QUEENS, CARE AT HOME,                          ARBITRATION AWARD
CHINESE-AMERICAN PLANNING COUNCIL HOME
ATTENDANT PROGRAM, UNITED JEWISH COUNCIL
OF THE EAST SIDE HOME ATTENDANT SERVICE
CORP., THE FIRST CHINESE PRESBYTERIAN
COMMUNITY AFFAIRS HOME ATTENDANT CORP.,
AZOR HOME CARE, BUSHWICK STUYVESANT
HEIGHTS HOME ATTENDANT, INC., CABS
HOMECARE, RIVERSPRING LICENSED HOMECARE
SERVICES AGENCY, INC., ST. NICHOLAS HUMAN
SUPPORTS CORP., WARTBURG, ALLIANCE FOR
HEALTH, INC., REGION CARE, INC., SPECIAL
TOUCH HOME CARE SERVICES, INC., RAIN, INC.,
PRESTIGE HOME CARE, INC., PRESTIGE HOME
ATTENDANT, INC. D/B/A ALL SEASON HOME
ATTENDANT, PERSONAL TOUCH HOME CARE OF
N.Y., INC., PRIORITY HOME SERVICES, PREMIER
HOME HEALTH CARE, INC., BRONX JEWISH
COMMUNITY COUNCIL HOME ATTENDANT
SERVICES,     CIDNY     INDEPENDENT            LIVING
SERVICES,     HOME     CARE        SERVICES        FOR
INDEPENDENT LIVING, NEW YORK
FOUNDATION FOR SENIOR CITIZENS HOME
ATTENDANT SERVICES, COOPERATIVE HOME
CARE ASSOCIATES, RISEBORO HOME CARE, INC.,
FEGS HOME ATTENDANT SERVICES, HOME
HEALTH MANAGEMENT SERVICES, INC., SCHOOL
SETTLEMENT       HOME      ATTENDANT            CORP.,
ROCKAWAY HOME ATTENDANT, BRONXWOOD
HOME FOR THE AGED, INC., ACCENTCARE OF NY,
INC., ISABELLA VISITING CARE, INC., SOCIAL
CONCERN COMMUNITY DEVELOPMENT CORP.,
ABC HEALTH SERVICES REGISTRY, ALLIANCE
HOME SERVICES, collectively identified by the Arbitrator
as the “HOME HEALTH CARE AGENCIES”,

                                           Respondents.
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       PLEASE TAKE NOTICE that the undersigned shall move this Court, before the

Honorable John G. Koeltl, at the United States Courthouse for the Southern District of New York,

located at 500 Pearl Street, New York, New York, 10007, on such date and at such time as the

Court shall determine, for an Order partially vacating the February 25, 2022 Arbitration Award

(the “Second Award”).

       PLEASE TAKE FURTHER NOTICE that in support of this motion, Movants will rely

on the accompanying Declaration of LaDonna M. Lusher and the exhibits annexed thereto, and

the Memorandum of Law in Support.

Dated: New York, New York
       April 26, 2022

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                                        Counsel for Movants


TO:   All counsel of record (via ECF)
